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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

 LIFE INSURANCE COMPANY
 OF THE SOUTHWEST, a
 Texas insurance corporation,
       Plaintiff,                              CASE NO. 8:20-cv-00888-MSS-JSS
 v.
 DAVID GREENBAUM and DEBBY RATH,
 as Parents and natural guardians of R.G., a
 minor; MARTY MELTON, in his individual
 capacity and MARTY MELTON in his
 capacity as the Personal Representative
 of the Estate of Sandra Rostig, deceased,
       Defendants.
 ________________________________________/

        MARTY MELTON’S RESPONSE IN OPPOSITION TO DAVID
         GREENBAUM’S MOTION FOR SUMMARY JUDGMENT
           AND INCORPORATED MEMORANDUM OF LAW

       COMES        NOW,    Defendant/Cross-Claimant,      MARTY      MELTON,

 individually and in his capacity as the Personal Representative of the Estate of

 Sandra Rostig (“MELTON”), by and through his undersigned attorneys, and files

 this his Response in Opposition to Defendant/Cross-Respondent DAVID

 GREENBAUM, as parent and natural guardian of R.G.’s (“GREENBAUM”)

 Motion for Summary Judgment as to MELTON’s Cross-Claim and on Count I of

 GREENBAUM’s Cross-Claim based on a finding that he is entitled to receive the



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 disputed funds at issue in this interpleader action, and in support thereof would

 state:

          Summary judgment is improper in this case because there is a genuine

 dispute of material fact as to whether the Partial Withdrawal Requests signed by

 the annuitant, SANDRA ROSTIG (“ROSTIG”), and received by the issuer of the

 subject annuity policy, LIFE INSURANCE COMPANY OF THE SOUTHWEST

 (“LSW”), prior to ROSTIG’s death, met the standards within the policy for a

 withdrawal and as such, the funds requested should be paid as instructed by the

 annuitant prior to distribution of the remaining value of the annuity policy to

 R.G., the beneficiary.

 I.       RESPONSE TO GREENBAUM’S UNDISPUTED MATERIAL FACTS

          1.   MELTON has no objection to the facts as set forth in Paragraphs 1

 through 15, 21 through 24, 26, 27, 29, 37 and 38 of GREENBAUM’s Motion for

 Summary Judgment and Incorporated Memorandum of Law (“GREENBAUM’s

 Motion” or “GREENBAUM Mtn.”).

          2.   As to Paragraphs 16 through 36 of GREENBAUM’s Motion,

 MELTON would state that the summaries of the testimony of LSW

 representatives Kim Gray and Kathy Bennett are sufficiently accurate, though the




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 testimony was given from the perspective of an entity attempting to protect its

 own interests.

 II.   MELTON’S COUNTERSTATEMENT

       3.    Part 1 of the “Flexible Premium Equity-Indexed and Declared-

 Interest Deferred Annuity Policy,” Policy No. ending 262X (“Annuity Policy”),

 Ownership of the Policy, subsection entitled Rights of Owner, states that

 “[ROSTIG] may exercise all rights and privileges under this Policy, while the

 Annuitant is living, prior to the Annuity Date. Use of these rights may be subject

 to the consent of any Assignee or irrevocable Beneficiary.” Exh. 1 to

 GREENBAUM Mtn., p. 7. See MELTON Amended Cross-Complaint ¶ 12;

 GREENBAUM Answer ¶ 12.

       4.    The POLICY’s Annuity Date was March 21, 2044. Exh. 1 to

 GREENBAUM Mtn., p. 5. See MELTON Amended Cross-Complaint ¶ 13;

 GREENBAUM Answer ¶ 13.

       5.    The POLICY did not have any assignees or irrevocable beneficiaries

 while ROSTIG was alive. See MELTON Amended Cross-Complaint ¶ 14;

 GREENBAUM Answer ¶ 14.

       6.    Part 4 of the Annuity Policy, Policy Dates and Values, subsection

 entitled Total Withdrawals, states that ROSTIG was authorized to withdraw all



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 of the Cash Value of the POLICY “at any time at or before the commencement of

 any annuity income payments. If you [ROSTIG] withdraw all of the Cash Value

 of this Policy, this Policy will terminate.” Exh. 1 to GREENBAUM Mtn., p. 8. See

 MELTON Amended Cross-Complaint ¶ 15; GREENBAUM Answer ¶ 15.

       7.    Part 4 of the Annuity Policy, entitled Policy Dates and Values,

 subsection entitled Partial Withdrawals, states that ROSTIG was authorized to

 withdraw “part of the Cash Value of this Policy at any time” prior to the Annuity

 Date, and partial Withdrawals were subject to the following limits: “each Partial

 Withdrawal must be at least $500” and “a Partial Withdrawal may not reduce the

 Accumulation Value to less than $2,500.” Exh. 1 to GREENBAUM Mtn., pp. 9, 10.

 See MELTON Amended Cross-Complaint ¶ 16; GREENBAUM Answer ¶ 16.

       8.    ROSTIG, on December 23, 2019, prior to her death, spoke with an

 LSW representative who identified herself as Jen in a telephone conversation

 recorded by LSW, and stated “I have a policy and I’m leaving the country for

 medical help. I need to withdraw 100,000 from my policy; please, immediately,

 on an expedited basis.” Depo. of Kim Gray, at 49:7-10. [The LSW recording of

 this telephone conversation is available for the Court’s review.]

       9.    At the time ROSTIG conducted her conversation with the LSW

 representative, although she was physically weak from the effects of her cancer,


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 she was mentally competent, as reflected in the fact that when the LSW

 representative identified herself as Jen, ROSTIG confirmed the representative’s

 name by re-stating it and then addressing Jen by name several times during their

 conversation. Depo. of Kim Gray, at 49:4-10, 52:22-53:11. [The LSW recording of

 this telephone conversation is available for the Court’s review.]

       10.   Jen advised ROSTIG that LSW had a form that required ROSTIG’s

 signature on it and that it could be emailed to her, and ROSTIG requested the

 LSW representative to email the forms to her husband, MARTY [MELTON].

 ROSTIG then asked if she could put MELTON on the phone, at which time

 MELTON got on the phone and continued the conversation with Jen, the LSW

 representative. Depo. of Kim Gray, at 49:11-52:20. [The LSW recording of this

 telephone conversation is available for the Court’s review.]

       11.   MELTON confirmed with Jen that ROSTIG needed to sign the form

 that was going to be emailed to him, and Jen advised the form could then be

 returned to LSW via fax, email or mail. Depo. of Kim Gray, at 50:10-16. [The

 LSW recording of this telephone conversation is available for the Court’s review.]

       12.   On December 24, 2019, ROSTIG executed two National Life Group

 Annuity Withdrawal Request forms, one requesting a withdrawal of $100,000.00




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 and one requesting a withdrawal of $45,000.00, and a W-9 form. See Affidavit of

 Sebastian Sutula, a true and correct copy of which is attached hereto as Exh. A.

       13.    ROSTIG’s     mental     competency     and   understanding    of    the

 consequence of the documents she was executing was confirmed by her friend

 Sebastian Sutula, who was present when ROSTIG executed the aforementioned

 three documents, and who had visited her several times during her

 hospitalization. See, Sutula Aff., Exh. A.

       14.    On the morning of December 26, 2019, MELTON emailed the two

 signed Annuity Withdrawal Request forms to Jen at LSW and requested she

 advise if there was anything else needed. Exh. 12 to GREENBAUM Mtn.

       15.    ROSTIG died on December 26, 2019, at 5:28 p.m. See ROSTIG

 Certification of Death, a redacted copy of which is attached hereto as Exh. B.

       16.    GREENBAUM makes several references in his Motion to the W-9

 signed by ROSTIG, and particularly questions the fact that the W-9 submitted to

 LSW was signed on December 24, 2019, before LSW sent its letter requesting

 ROSTIG sign the W-9 it was providing. The intent of these references can only be

 to color the validity of the W-9, implying the W-9 was not signed by ROSTIG and

 that it was backdated. Sebastian Sutula, a disinterested witness, stated in his




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 Affidavit that he saw ROSTIG sign the W-9 form on December 24, 2019. See

 Sutula Aff., Exh. A.

       17.    The Annuity Policy is silent with regard to defining what constitutes

 a “withdrawal” from the Annuity Policy or when such withdrawal vests. See

 Annuity Policy, Exh. 1 to GREENBAUM Mtn.

       18.    In accord with the terms of the Annuity Policy ROSTIG’s two

 Annuity Withdrawal Request forms were:

              a.    signed by her when she was the Annuitant of the Annuity

 Policy (Sutula Aff., Exh. B; Annuity Policy, Exh. 1 to GREENBAUM Mtn., p. 2);

              b.    were submitted prior to the Annuity Date (Exh. 12 to

 GREENBAUM Mtn.; Annuity Policy, Exh. 1 to GREENBAUM Mtn., p. 2);

              c.    were each seeking the withdrawal of at least $500 (Exh. 12 to

 GREENBAUM Mtn.); and

              d.    did not reduce the Accumulation Value to less than $2,500 (See

 document LSW-000564, produced in response to GREENBAUM’s First Request

 for Production to LSW, a true and correct copy of which is attached hereto as

 Exh. C).




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 III.   LEGAL STANDARD

        Summary judgment is not proper if the nonmovant shows that there are

 genuine disputes of material fact and that the movant is not entitled to judgment

 as a matter of law. FRCP 56(a). See, Tolan v. Cotton, 572 U.S. 650, 656–57

 (2014); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).

           To grant a motion for summary judgment, this Court must find that
           “there is no genuine issue as to any material fact.” Fed. R. Civ. P.
           56(c). The Court is not to weigh the evidence, but rather to
           determine if there is a genuine issue of fact Anderson v. Liberty
           Lobby. Inc., 477 U.S. 242, 249 (1986). If no material factual disputes
           remain, then summary judgment should be granted against a party
           who fails to make a showing sufficient to establish the existence of
           an element essential to that party's case, and on which the party
           bears the burden of proof. Celotex Corp. v. Catrett, 477 U.S. 317
           (1986). All evidence should be viewed in the light most favorable to
           the non-moving party. See Perini Corp. v. Perini Constr., Inc., 915
           F.2d 121, 123-24 (4th Cir. 1990). Richardson v. AT&T Mobility
           Services LLC, 2016 WL 3457015, at 3 (USDC, D. So. Car., Charleston
           Div.).

 IV.    A GENUINE ISSUE OF MATERIAL FACT EXISTS AS TO WHEN THE
        PARTIAL WITHDRAWAL REQUESTS VESTED, RESULTING IN AN
        AMBIGUITY IN THE ANNUITY POLICY

        In determining whether there is a genuine dispute of material fact that

 prevents summary judgment, this Honorable Court must consider all evidence in

 the light most favorable to MELTON as the nonmovant. Tolan, 572 U.S. at 656–

 57; Garcia v. Pueblo Country Club, 299 F.3d 1233, 1236–37 (10th Cir. 2002). The

 Court must also resolve all reasonable doubts about the facts in favor of



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 MELTON as the nonmovant. Tolan, 572 U.S. at 656; Cooper Tire & Rubber Co. v.

 Farese, 423 F.3d 446, 455–56 (5th Cir. 2005).

       GREENBAUM must prove that there is no ambiguity in the Annuity

 Policy that precludes the distribution of the funds requested by ROSTIG in her

 two Partial Withdrawal Requests prior to the distribution of the remaining value

 of the Annuity Policy to R.G. as the beneficiary. Because such ambiguity exists,

 there is a genuine dispute of material fact and as a result, GREENBAUM is not

 entitled to summary judgment.

           Under Florida law, courts must construe an insurance contract in
           its entirety, striving to give every provision meaning and effect. An
           insurance contract is ambiguous if it is susceptible to two or more
           reasonable interpretations that can fairly be made. When one of
           these interpretations results in coverage and another results in
           exclusion, ambiguity exists in the insurance policy. [citations
           omitted]. Dahl-Eimers v. Mutual of Omaha Life. Ins. Co., 986 F.2d
           1379, 1381 (11th Cir. Fla. 1993).

 See also, Fayad v. Clarendon Nat. Ins. Co., 899 So.2d 1082, 1086 (Fla. 2005) (“if the

 salient policy language is susceptible to two reasonable interpretations, one

 providing coverage and the other excluding coverage, the policy is considered

 ambiguous.”)

       The language of the Annuity Policy applying to ROSTIG’s Partial

 Withdrawal Requests states, “Prior to the Annuity Date [March 21, 2044],

 [ROSTIG] may withdraw part of the Cash Value of this Policy at any time.” The


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 Annuity Policy does not predicate such a partial withdrawal on there being

 sufficient time to process the withdrawal request prior to the death of the

 Annuitant. The Annuity Policy is silent as to any definition or description

 regarding the time it may take to process a withdrawal or when the withdrawal

 request vests, creating ambiguity.

          Ambiguity also may arise from silence. Cf. Davis v. Crown Life Ins.
          Co., 696 F.2d 1343, 1346 (11th Cir. Fla. 1983) (ambiguity resulting
          from silence in certificate of insurance, which did not include a
          controlling provision recited in the master policy, treated as an
          express ambiguity). Dahl-Eimers v. Mutual of Omaha Life. Ins. Co. at
          1381.

       GREENBAUM argues that ROSTIG’s right to make her withdrawals is

 predicated on the actual disbursement of the funds prior to death, further

 emphasizing the fact that the failure to define a time frame for processing of

 withdrawals creates an ambiguity in the interpretation of the Annuity Policy.

 GREENBAUM further argues that because the Annuity Policy defines “Policy

 Value” as including the deduction of “any amounts withdrawn,” that the failure

 to process ROSTIG’s Partial Withdrawal Requests prior to her death voids them.

 GREENBAUM determines that as a result, R.G. should receive the full value of

 the Annuity Policy, including the funds requested by ROSTIG in her Partial

 Withdrawal Requests; including the $100,000.00 ROSTIG orally instructed LSW

 she wanted to withdraw during her December 23, 2019, telephone conversation.


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          Pursuant to Florida law, the Annuity Policy must be construed in its

 entirety. Auto-Owners Ins. Co. v. Anderson, 756 So. 2d 29 (Fla. 2000). In this case,

 the Annuity Policy is silent as to when a Partial Withdrawal Request vests.

 Therefore, are funds deemed withdrawn as of:

               a.    The date the Partial Withdrawal Request is executed (which is

 when the Annuity Policy honors a change-of-beneficiary designation request; see

 Annuity Policy, Exh. 1 to GREENBAUM Mtn., p. 8);

               b.    Upon receipt of the executed Partial Withdrawal Request by

 the entity; or

               c.    As of the date the processing of the request is completed by

 the entity?

          GREENBAUM’s interpretation (processing of the Partial Withdrawal

 Requests had not been completed by the entity prior to ROSTIG’s death) results

 in the exclusion of benefits to ROSTIG that the Annuity Policy freely gave to her

 as the owner and annuitant of the Annuity Policy. It was ROSTIG’s intent, prior

 to her death, to withdraw funds from her Annuity Policy. Failure to pay those

 funds results in benefits for R.G. to which he was not entitled prior to ROSTIG’s

 death.




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       If one is to follow GREENBAUM’s argument, that the funds were not

 deemed withdrawn because they had not yet been paid out, one has to ignore the

 fact that the Annuity Policy specifically states that ROSTIG could withdraw

 funds from her Annuity Policy “at any time.” “At any time” is not ambiguous.

 The failure of the Annuity Policy to define when a Partial Withdrawal Request

 vests creates an ambiguity and a genuine dispute, and as a result, GREENBAUM

 is not entitled to summary judgment. In fact, it could also reasonably be read that

 “Policy Value,” which includes “any amounts withdrawn,” could also require

 the entity to honor ROSTIG’s Partial Withdrawal Requests prior to paying out

 the death benefit.

       In support of GREENBAUM’s Motion, he references an argument made by

 LSW in its Motion to Dismiss that the provisions of the Annuity Policy are such

 that any funds in the annuity at the time of the annuitant’s death are payable to

 the designated beneficiary with no exceptions for pending withdrawals. It must

 be pointed out that no ruling was ever made on LSW’s Motion to Dismiss and

 that the entity was, at the time, subject to a claim, and as such was attempting to

 protect itself from potential liability. Therefore, GREENBAUM’s reliance on the

 Motion is misplaced.




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 V.    ROSTIG’S INTENT MUST BE GIVEN CONSIDERATION

       ROSTIG was the owner and annuitant of the subject Annuity Policy. She

 had made numerous withdrawals from the Annuity Policy over the years, as was

 her right as the annuitant. When ROSTIG designated R.G. as the beneficiary of

 her policy (R.G. was not the initial beneficiary), it was ROSTIG’s intent that R.G.

 receive the remaining assets of her Annuity Policy after her death. Prior to her

 passing and pursuant to the express terms of the Annuity Policy, ROSTIG could

 partially withdraw funds from the Annuity Policy, she could withdraw all of the

 funds and cancel the Annuity Policy, or she could change the beneficiary of the

 Annuity Policy. R.G. had no claim at all to any of the assets of the Annuity Policy

 until after ROSTIG passed away, much less to the funds she stated she wanted

 withdrawn prior to her death.

       ROSTIG, in her telephone conversation with the LSW representative,

 stated that she wanted to withdraw $100,000.00 from her Annuity Policy on an

 expedited basis. The amount to be withdrawn was subsequently increased to

 $145,000.00, with the funds to be paid to a joint account held with her husband,

 MELTON. ROSTIG’s intent was clear; she wanted $145,000.00 from her Annuity

 Policy paid to her joint account, and for R.G. to receive whatever funds were left

 in the Annuity Policy after that payment.


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 VI.   THE PARTIAL WITHDRAWAL REQUESTS ARE ANALOGOUS TO A
       CHANGE OF THE PAY-ON-DEATH BENEFICIARY DESIGNATION

       There is a dearth of case law on annuity withdrawal requests, but the

 Court can look to the well-defined case law on change of beneficiary

 designations for guidance. It is undisputed that the Annuity Policy makes no

 mention of when a Partial Withdrawal Request vests, so we look to analogous

 cases for guidance.

          In Florida, “the right of an insured to change the beneficiary of a
          life insurance policy depends on the terms of contract between the
          insurer as expressed in the life insurance policy....” Shuster v. New
          York Life Ins., 351 So.2d 62, 64 (Fla.Dist.Ct.App.1977). Where the
          right to change the beneficiary of a life insurance policy has been
          reserved, the named beneficiary “acquires no vested right or
          interest during the life of the insured, but acquires an expectancy.”
          Pendas v. Equitable Life Assur. Soc. of U.S., 129 Fla. 253, 176 So. 104,
          110 (1937); Ross v. Ross, 20 So.3d 396, 398 (Fla.Dist.Ct.App.2009).
          United States Life Ins. Co. in the City of New York v. Logus Mfg. Corp.,
          845 F. Supp. 2d, 1303, 1312 (SD Fla. 2012).

       Case law follows that changes in beneficiary designations made in

 compliance with the requirements of the policy take effect on the date they are

 signed, not the date received by the entity or the date the entity implements the

 change of beneficiary designation, even if the change is presented after the policy

 owner has passed away. See, Martinez v. Saez, 650 So. 2d 668 (Fla. 3d DCA 1995).

       O’Brien v. McMahon, 44 So. 3d 1273 (Fla. 1st DCA 2010) is a change-of-

 beneficiary case with a very similar background to the case at hand. In O’Brien,


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 the decedent executed a Prudential form in 1999 adding his newly-adopted

 daughter as a beneficiary and removing his niece (his other daughter was

 already a designated beneficiary). The decedent’s Prudential policy permitted

 the change of beneficiary designation so long as the request was in writing “and

 in a form that meets our needs” and took effect when filed in the Home Office.

 Id., at 1275. The policy additionally stated that “any previous beneficiary’s

 interest will end as of the date of the request … even if the insured is not living

 when we file the request.” Id., at 1275-1276. The decedent died in 2007 and

 Prudential indicated it needed to confirm the beneficiaries because the 1999

 request had not been fully processed (there were issues regarding the

 designation of guardian vs. trustee for the minor beneficiaries). Prudential

 representatives testified that Prudential had never fully processed the change of

 beneficiary designation request. However, as the Court noted: “Nothing in the

 insurance policy requires ‘processing’ of any kind in order to render a duly filed

 request for change of beneficiary to become effective.” Id., at 1276, fn. 5. The

 Court also noted that “[t]he phrase ‘in a form that meets our needs’ plainly

 requires that a beneficiary request contain enough information to allow

 Prudential to act on the request.” Id., at 1279. The O’Brien Court determined that




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 Prudential understood the decedent intended his daughters were to be his

 beneficiaries under the policy.

       Similarly, in our case, ROSTIG had properly executed the Partial

 Withdrawal Request forms the entity had provided via email to MELTON, at

 ROSTIG’s direction, which MELTON subsequently printed out for ROSTIG to

 execute. All of the information requested by the entity on the forms the entity

 provided was accurate and the forms were executed by ROSTIG. As in O’Brien,

 the “processing” of the Partial Withdrawal Requests had not been completed

 prior to ROSTIG’s death; however, the entity clearly understood that ROSTIG

 intended the funds to be withdrawn and deposited into her joint account with

 MELTON. Further, there was no provision in the Annuity Policy that the Partial

 Withdrawal Requests had to be “processed” to become effective.

       This “reasonableness standard” was also set forth in Strauss v. Teachers Ins.

 and Annuity Ass’n of America, 37 Mass. App. Ct. 357 (1994); a case very similar to

 ours. In Strauss, the annuitant had three annuity policies with TIAA, two of

 which he converted into a single policy. Approximately two months after

 surgery for cancer, the annuitant contacted TIAA and inquired about changing

 the beneficiary designations on his policies. A couple of weeks later, the entity

 provided him with copies of the current beneficiary designations, a change of


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 beneficiary form listing only one policy number, and directions for completing

 same. The cover letter referenced both policy numbers and requested the

 annuitant provide the names of the new beneficiaries if he was also changing

 them on the second policy, so TIAA could prepare the appropriate form. The

 annuitant immediately completed and submitted the change of beneficiary

 designation for the one policy to TIAA, together with a letter referencing both

 policy numbers, specifically instructing that he wanted his former wife removed

 as a beneficiary and his three children designated as his beneficiaries on all of his

 policies with TIAA. TIAA subsequently sent a letter with its change of

 beneficiary designation form for the second policy, and later sent a follow-up

 letter when the executed form had not been returned. The annuitant never

 responded to the follow-up letters, as he was struggling with the recurrence of

 his cancer, and ultimately, he died before executing the second change of

 beneficiary designation form. The Court found there was not only evidence

 provided of full compliance with the contractual requirements, but also that

 there was sufficient evidence of substantial compliance, and affirmed the lower

 court’s finding that the change of beneficiary designation was effective, stating:

          [The annuitant] never learned of any dissatisfaction on TIAA’s part,
          and he died assuming there was nothing further for him to do. In
          the circumstances of this case, where [the annuitant] notified TIAA
          of a change of beneficiaries in a manner that satisfied the policy


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          requirements but died before receiving actual notice that further
          steps were necessary to effect the change, the jury could have found
          that there was substantial compliance with the policy. Id., at 362.

       A change of beneficiary designation to a policy nullifies all previous

 designations of the annuitant and invalidates the claim a prior beneficiary may

 have to any of the value of the policy. On the other hand, a partial withdrawal

 request merely decreases the amount that would ultimately be paid to the

 designated pay-on-death beneficiary. As such, one could surmise that the bar

 should be set higher for a change of beneficiary designation than a partial

 withdrawal of funds request. The Florida courts have already determined that a

 change-of-beneficiary designation form is valid even if received after the policy-

 owner’s death and that “processing” of the change-of-beneficiary form need not

 be completed prior to the policy-owner’s death to be enforceable. See, Martinez v.

 Saez, 650 So. 2d 668 (Fla. 3d DCA 1995) and O’Brien v. McMahon, 44 So. 3d 1273

 (Fla. 1st DCA 2010).

       Similarly, ROSTIG’s Partial Withdrawal Requests were executed prior to

 her death and were actually received by the entity prior to her death, but the

 “processing” had not been completed by the entity prior to her death. As with a

 change-of-beneficiary   designation     request,    ROSTIG’s    Partial   Withdrawal




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 Requests should be honored, processed, and the payment made prior to any

 payment to R.G. of the remaining benefits of the Annuity Policy.

                                 CONCLUSION

       The ambiguity in the Annuity Policy at issue has created a genuine dispute

 as to a material fact in this case – was ROSTIG permitted to withdraw funds from

 her Annuity Policy “at any time” prior to her death, as stated in the Annuity

 Policy, or is the “Policy Value” only reduced by withdrawals that have already

 been paid out, not withdrawals actually requested? To take this even a step

 further, if the entity had approved ROSTIG’s Partial Withdrawal Requests prior

 to her death, but ROSTIG died before the funds had been deposited to her joint

 account, would GREENBAUM still have an argument that the funds had not

 actually been withdrawn? The silence in the Annuity Policy in failing to define

 what constitutes an actual withdrawal or when such withdrawal vests, results in

 this ambiguity.

       There are numerous genuine disputes regarding the interpretation of the

 Annuity Policy, which are not the proper subject of a summary judgment

 motion, and based thereon, MELTON respectfully requests this Honorable Court

 deny GREENBAUM’s Motion for Summary Judgment.

                     SIGNATURE ON FOLLOWING PAGE



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 DATED: September 24, 2021            Respectfully submitted,

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                          CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on September 24, 2021, I electronically filed the
 foregoing “Marty Melton’s Response in Opposition to David Greenbaum’s Motion for
 Summary Judgment and Incorporated Memorandum of Law” with the Clerk of Court
 by using the CM/ECF System, which will then send a notice of electronic filing
 to all counsel of record listed below:

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